                 Case 1:07-cr-00272-LJO Document 64 Filed 04/22/09 Page 1 of 2


 1
 2
 3
 4
     ROBERT W. RAINWATER, CA. Bar No. 67212
 5   Rainwater Law Group
     Designated Counsel for Service
 6   1430 Willamette Street, Suite 492
     Eugene, Oregon 97401-4049
 7   Telephone: (541) 344-1785
 8   Counsel for Defendant
     LARRY DONNELL JONES
 9
10
11
                                  IN THE UNITED STATES DISTRICT COURT
12
                                FOR THE EASTERN DISTRICT OF CALIFORNIA
13
14
     UNITED STATES OF AMERICA,                      )    NO. 1:07-CR-00272 LJO
15                                                  )
                           Plaintiff,               )
16                                                  )    STIPULATION TO CONTINUE
            v.                                      )    SENTENCIN HEARING, AND ORDER
17                                                  )    THEREON
     LARRY DONNELL JONES,                           )
18                                                  )
                                                    )    Date: July 17, 2009
19                         Defendant.               )    Time: 9:00 a.m.
                                                    )    Judge: Honorable Lawrence J. O’Neill
20                                                  )
21
22
                                                  STIPULATION
23
            It is hereby stipulated by and between the parties hereto that the hearing on the sentencing in the
24
     above entitled matter, as to defendant Larry Jones only, previously set for May 4, 2009 at 8:30 a.m., be
25
     continued to July 17, 2009, at 9:00 a.m.
26
            The reason for this continuance is to allow counsel for defendant and the government time for
27
     further preparation. Mr. Jones plea agreement contains a cooperation agreement which needs to be
28
                Case 1:07-cr-00272-LJO Document 64 Filed 04/22/09 Page 2 of 2


 1   completed before he can be sentenced. It is both parties best estimate, at this time, that a hearing on July
 2   17, 2009 would allow the necessary time in order to comply with the plea agreement and be prepared for a
 3   sentencing hearing.
 4   ///
                                                                   LAWRENCE G. BROWN
 5                                                                 Acting United States Attorney
 6
 7
     DATED: April 22, 2009                                 By:     /s/ Stanley A. Boone
 8                                                                 STANLEY A. BOONE
                                                                   Assistant U.S. Attorney
 9                                                                 Attorney for Plaintiff
10
11
     DATED: April 22, 2009                                 By:     /s/ Robert W. Rainwater
12                                                                 ROBERT W. RAINWATER
                                                                   Assistant Federal Defender
13                                                                 Attorney for Defendant
                                                                   Larry Donnell Jones
14
15
                                                       ORDER
16
              Concerning the sentencing of Larry Donnell Jones, and for the reasons stated above, the Court
17
     finds that the ends of justice are served by the continuance of the sentencing hearing as requested.
18
19
20   IT IS SO ORDERED.
21   Dated:      April 22, 2009                         /s/ Lawrence J. O'Neill
     b9ed48                                         UNITED STATES DISTRICT JUDGE
22
23
24
25
26
27
28


     Jones Stip. to Continue Sentencing and Order          2
